
PER CURIAM.
Based upon our recent decision in Richardson v. State, 22 Fla. L. Weekly D1498, - So.2d - [1997 WL 325600] (Fla. 1st DCA June 17, 1997) (criminal division en banc), we affirm the denial of appellant’s motion seeking post-conviction relief pursuant to Florida Rule of Criminal Procedure 3.800(a). As in Richardson, we certify to the supreme court the following question:
ARE CONSECUTIVE HABITUAL FELONY OFFENDER SENTENCES FOR MULTIPLE OFFENSES ARISING FROM A SINGLE CRIMINAL EPISODE, PROSCRIBED BY HALE V. STATE, 630 So.2d 521 (Fla.1993), ILLEGAL WITHIN THE MEANING OF RULE 3.800(a), WHEN NO SINGLE SENTENCE EXCEEDS THE STATUTORY MAXIMUM PROVIDED BY LAW?
AFFIRMED.
ALLEN, WEBSTER and MICKLE, JJ., concur.
